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                  EXHIBIT 4
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                                                           CHARLES PALMER


    UNITED STATES DISTRICT COURT
    WESTERN DISTRICT OF NEW YORK

    ----------------------------------------------------
    BLACK LOVE RESISTS IN THE RUST by and through
    MARIELLE SHAVONNE SMITH and CHARIS HUMPHREY
    on behalf of its members, SHAKETA REDDEN,
    DORETHEA FRANKLIN, TANIQUA SIMMONS, DE'JON HALL,
    JOSEPH BONDS, CHARLES PALMER, SHIRLEY SARMIENTO,
    EBONY YELDON, and JANE DOE,
    individually and on behalf of a class of all
    others similarly situated,

                                     Plaintiffs,

          -vs-


    CITY OF BUFFALO, N.Y., BYRON B. BROWN,
    Mayor of the City of Buffalo, in his individual and
    official capacities,
    BYRON C. LOCKWOOD, Commissioner of the
    Buffalo Police Department, in his individual
    and official capacities,
    DANIEL DERENDA, former Commissioner of the
    Buffalo Police Department, in his individual capacity,
    AARON YOUNG, KEVIN BRINKWORTH, PHILIP SERAFINI,
    ROBBIN THOMAS,
    UNKNOWN SUPERVISORY PERSONNEL 1-10,
    UNKNOWN OFFICERS 1-20, each officers of the
    Buffalo Police Department,
    in their individual capacities,

                                 Defendants.
    ----------------------------------------------------
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                                                                         2




                                      Remote Examination Before

   Trial of CHARLES PALMER, Plaintiff, taken pursuant to the

   Federal Rules of Civil Procedure, at SUE ANN SIMONIN COURT

   REPORTING, 421 Franklin Street, Buffalo, New York, taken on

   September 14, 2023, commencing at 9:02 A.M., before NICHOLE

   WINANS, Notary Public.




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 1   Q.   O k a y.     B u t b e y o n d y o u r c h i l d s u p p o r t o b l i g a t i o n?

 2   A.   Yes.

 3   Q.   O k a y.     Thank you.             I a p p r e c i a t e t h a t.   And I can

 4        appreciate wanting to keep your son's personal

 5        d e t a i l s o u t o f t h i s, b u t t h a n k y o u f o r y o u r

 6        t h o u g h tf u l a n s w e r s.

 7                S o o f f o f t h a t t o p i c, w h a t i s y o u r c u r r e n t

 8        a d d r e s s, y o u r c u r r e n t r e s i d e n t i a l a d d r e s s, e x c u s e

 9        me?

10   A.   I d o n ' t h a v e n o c u r r e n t a d d r e s s, I ' m h o m el e s s.            I

11        j u s t h a v e a m a i l i n g a d d r e s s.

12   Q.   C a n y o u r e p e a t t h a t l a s t p a r t?         I ' m s o r r y.    You

13        don't have a?

14   A.   I j u s t h a v e a m a i l i n g a d d r e s s, I d o n ' t h a v e a

15        c u r r e n t a d d r e s s.

16   Q.   O k a y.     A n d w h a t i s y o u r m a i l i n g a d d r e s s?

17   A.   P . O . B o x 3 2 0 9 4, C h a r l o t t e, N o r t h C a r o l i n a 2 8 2 3 2.

18   Q.   D o y o u c u r r e n t l y r e s i d e i n N o r t h C a r o l i n a t h e n?

19   A.   Yes.

20   Q.   O k a y.     And did you have a residential address

21        p r i o r?

22   A.   Yes.

23   Q.   W h a t w a s t h a t?




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 1   Q.   O k a y.      U n d e r s t o o d.   Prior to the Newburgh

 2        a d d r e s s, w h e r e d i d y o u l i v e b e f o r e t h a t - - o r ,

 3        w h a t w a s y o u r r e s i d e n t i a l a d d r e s s b e f o r e t h a t?

 4   A.   N o t s u r e.

 5   Q.   D o y o u r e m e m b e r i f i t w a s i n B u f f a l o?

 6   A.   Yes.

 7   Q.   O k a y.

 8   A.   It was.

 9   Q.   D o y o u r e c a l l i f y o u o w n e d o r r e n t e d t h e r e?

10   A.   No.        I l i v e d w i t h m y m o t h e r.

11   Q.   O k a y.      Is that the same house that you grew up in

12        t h e n?

13   A.   O n e o f t h e m, y e s .

14   Q.   And so is it safe to say that you grew up in the

15        C i t y o f B u f f a l o?

16   A.   Yes.

17   Q.   What neighborhoods did you grow up in?

18   A.   M u l t i p l e n e i g h b o r h o o d s.   P r i m a r i l y t h e E a s t S i d e.

19   Q.   O k a y.      D o y o u v i s i t B u f f a l o o f t e n?

20   A.   I h a v e n' t , I h a v e n' t o f t e n r e c e n t l y, n o .

21   Q.   O k a y.      Do you have plans to visit Buffalo any

22        t i m e s o o n?

23   A.   Yes.




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                                                                                      65



 1   Q.    O k a y.       Would sunglasses have helped in the sun?

 2   M S . W I L L I A M S:    O b j e c t i o n.

 3   T H E W I T N E S S:     I b e l i e v e I h a d s u n g l a s s e s.      No.

 4   B Y M S . F R E E L Y:

 5   Q.    O k a y.       Did a doctor recommend that you have

 6         t i n t e d w i n d o w s?

 7   M S . W I L L I A M S:    O b j e c t i o n.

 8   T H E W I T N E S S:     I ' m n o t s u r e.

 9   B Y M S . F R E E L Y:

10   Q.    What sparked your decision to have your windows

11         t i n t e d?

12   M S . W I L L I A M S:    O b j e c t i o n.

13   T H E W I T N E S S:     A s s t a t e d.

14   B Y M S . F R E E L Y:

15   Q.    W h i c h i s w h a t?

16   A.    L i g h t s e n s i t i v i t y a n d v i s i o n p r o b l e m s.

17   Q.    D i d y o u t i n t y o u r w i n d o w s y o u r s e l f?

18   A.    No.

19   Q.    D i d y o u h a v e s o m e o n e e l s e t i n t y o u r w i n d o w s?

20   A.    P r o f e s s i o n a ll y t i n t e d b y a t i n t i n g w i n d o w

21         c o m p a n y.

22   Q.    Do you remember what company that is, that was?

23   A.    No.




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                                                                                       67



 1         me.

 2   Q.    H o w m a n y o f y o u r w i n d o w s w e r e t i n t e d?

 3   A.    F i v e.

 4   Q.    S o i s t h a t y o u r - - w h i c h w i n d o w s w e r e t i n t e d?

 5   A.    F o u r w i n d o w s a n d t h e r e a r w i n d o w.

 6   Q.    T h e r e a r w i n d s h i e l d?

 7   A.    Yes.

 8   Q.    O k a y.    Did the officer use a tint meter when --

 9         to test how tinted your windows were on November

10         4 t h , 2 0 1 5?

11   A.    I ' m n o t s u r e, I c a n ' t r e c a l l.

12   Q.    O k a y.    Did you communicate your vision problems

13         t o t h e o f f i c e r o n t h a t d a t e?

14   A.    I ' m n o t s u r e.

15   Q.    S o p a r a g r a p h t h r e e o t h r e e s t a t e s t h a t y o u m o v ed

16         f r e q u e n t l y.      W h y i s t h a t?

17   M S . W I L L I A M S:       O b j e c t i o n.

18   T H E W I T N E S S:     I ' m n o t s u r e.

19   B Y M S . F R E E L Y:

20   Q.    S o w a s i t y o u r a u n t' s a d d r e s s t h a t w a s o n y o u r

21         l i c e n s e, y o u r d r i v e r' s l i c e n s e?

22   A.    I ' m n o t s u r e.

23   Q.    Do you remember what license -- what address was




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 1        r e g u l a r p a s s e n g e r i n t h e v e h i c l e.   At any time

 2        w h e n y o u w e r e p u l l e d o v e r b y O f f i c e r D o m a r a c k i,

 3        O f f i c e r W i g d o r s k i o r O f f i c e r M i l l e r, d i d e i t h e r

 4        of them inquire whether or not you had any

 5        m e d i c a l c o n d i t i o n t h a t r e q u i r e d y o u t o h a v e t i n t?

 6   A.   I don't think so.

 7   Q.   If they had done so, would you have applied for a

 8        tinted window exemption as is allowed in New York

 9        S t a t e?

10   A.   Yes.

11   Q.   O k a y.      I just want to go back to the complaint

12        a g a i n f o r a s e c o n d.        Officer Domaracki issued

13        you two tickets for tinted windows in paragraph

14        t h r e e o f o u r, O f f i c e r W i g d o r s k i, h o w e v e r, f o r t h e

15        s a m e r e a s o n s, h e i s s u e d y o u f o u r t i n t e d w i n d o w

16        t i c k e t s, a n d o n e f o r f a i l u r e t o n o t i f y t h e D M V .

17        B e t w e e n N o v e m b e r 2 0 1 5 a n d J a n u a r y 2 0 1 6, d i d y o u

18        remove the other two tints from your windows or

19        did your car have the same amount of tints as

20        b e f o r e i n J a n u a r y 2 0 1 6?

21   A.   No.        I t w a s t h e s a m e.

22   Q.   So Officer Domaracki chose to issue you two

23        tickets while Officer Wigdorski issued you four




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